     Case 8:12-cv-00831-JVS-MLG     Document 61   Filed 04/28/14   Page 1 of 2 Page ID
                                          #:300


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12 ESSOCIATE, INC.
13
                        UNITED STATES DISTRICT COURT
14                     CENTRAL DISTRICT OF CALIFORNIA
15                           SOUTHERN DIVISION
16    ESSOCIATE, INC., a Delaware              Case No. SACV12-00831 JVS (MLGx)
17    corporation,
                                               AMENDED REQUEST TO ENTER
18                Plaintiff,                   DEFAULT AGAINST
19                                             DEFENDANT EAGLE WEB
            v.                                 ASSETS, INC.
20
21    EAGLE WEB ASSETS, INC., an
22    Illinois corporation; and EWA
      NETWORK, INC., an Illinois
23    corporation,
24
              Defendants.
25
      LINKTRUST SYSTEMS, INC.
26
      Intervenor and Counterclaim Plaintiff.
27
28
                                           1
        AMENDED REQUEST TO ENTER DEFAULT AGAINST DEFENDANT EAGLE WEB ASSETS, INC.
     Case 8:12-cv-00831-JVS-MLG      Document 61     Filed 04/28/14   Page 2 of 2 Page ID
                                           #:301


 1 TO THE CLERK OF COURT:
 2         Plaintiff Essociate, Inc. requests that the Clerk of the above-titled Court
 3 enter default in this matter against Defendant Eagle Web Assets, Inc., an Illinois
 4 corporation (Eagle) on the grounds that Eagle is a party against whom a judgment
 5 for affirmative relief is sought that has failed to plead or otherwise defend.
 6         Essociate served its complaint on Eagle on May 29, 2012, as evidenced by
 7 the proof of service of summons and complaint on file with the Court. (Docket No.
 8 60.) Eagle’s previous answer was stricken by Order of the Court on October 24,
 9 2013. (Docket No. 48.) Eagle is currently unrepresented by counsel, and has not
10 filed an answer or other responsive pleading since its answer was stricken.
11         The above-stated facts are set forth in the accompanying declaration of
12 Derek Linke.
13
14 Dated this 28th day of April, 2014.
15
16                                   Respectfully Submitted,
17
                                     NEWMAN DU WORS LLP
18
19                                   s/ Derek Linke
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                                           2
        AMENDED REQUEST TO ENTER DEFAULT AGAINST DEFENDANT EAGLE WEB ASSETS, INC.
